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14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   ADMINISTRATIVE MOTION TO FILE
            Plaintiffs,                              UNDER SEAL PORTIONS OF
19                                                   PLAINTIFFS’ RESPONSE TO GOOGLE’S
            v.                                       OBJECTIONS TO THE SPECIAL
20                                                   MASTER’S SEALED
     GOOGLE LLC,                                     RECOMMENDATIONS AND ORDER
21                                                   DATED APRIL 4, 2022 (DKT NO. 604)
            Defendant.
22                                                   CIVIL L.R. 79-5
23                                                   Magistrate Judge: Hon. Susan van Keulen
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 1             Pursuant to Civil Local Rules 7-11 and 79-5 and the Stipulated Protective Order entered in
 2   this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Seal Portions
 3   of the following documents:
 4
             Document1                                Text Sought to be Sealed
 5           Dkt. No. 632-2: Plaintiffs’ Response to Page 6, lines 15-16
         1   Google’s Objections to the Special
 6
             Master’s Sealed Recommendations and
 7           Order Dated April 4, 2022 (Dkt. No. 604)
             Dkt. No. 632-4: Supplemental Declaration Page 6, line 5
 8       2   of Dr. Zubair Shafiq
 9   I.        LEGAL STANDARD
10             “The public has a right of access to the Court’s files.” Civil L.R. 79-5(a). The presumption
11   of public access can be overcome where the sealing party “articulate[s] compelling reasons
12   supported by specific factual findings…that outweigh…public policies favoring disclosure such as
13   the public interest in understanding the judicial process.” Kamakana v. City & County of Honolulu,
14   447 F.3d 1172, 1178-79 (9th Cir. 2006) (citations omitted). Courts “must ‘conscientiously balance
15   the competing interests’ of the public and the party who seeks to keep certain judicial records
16   secret.” Id. at 1178-79 (citing Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1135 (9th Cir.
17   2003)).
18             Compelling reasons to seal include protecting “an individual’s privacy interest and to
19   prevent exposure to harm or identity theft.” Nursing Home Pension Fund v. Oracle Corp., No. C01-
20   00988 MJJ, 2007 WL 3232267, at *2 (N.D. Cal. Nov. 1, 2007) (permitting redaction of home
21   addresses and financial account information) (citing Foltz, 331 F.3d at 1134 (acknowledging
22   privacy interests implicated by sensitive, personally identifying information)); Pension Plan for
23   Pension Tr. Fund for Operating Eng’rs v. Giacalone Elec. Servs., Inc., No. 13-CV-02338-SI, 2015
24   WL 3956143, at *10 (N.D. Cal. June 29, 2015). Web browsing history, account names, and email
25   addresses are defined as “personal information” protected under the California Consumer Privacy
26
     1
27    Redacted and unredacted versions of the documents Plaintiffs seek to seal are attached to the
     contemporaneously filed Administrative Motion to Consider Whether Another Party’s Materials
28   Should Be Sealed. Dkt. No. 632.

     PLS. ADMIN. MOT. TO SEAL                           1            CASE NO. 5:20-CV-05146-YGR-SVK
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 1   Act of 2018 (“CCPA”), see Cal. Civ. Code § 1798.140(o). The Ninth Circuit also now recognizes
 2   a privacy interest in web browsing history and associated cookies and identifiers. See, e.g., In re
 3   Facebook, Inc. Internet Tracking Litig., 956 F.3d 589 (9th Cir. 2020) (privacy harm arising from
 4   alleged non-consensual tracking and collection of plaintiffs’ browsing history on third-party sites);
 5   accord Henson v. Turn, Inc., 15-cv-1497-JSW-JB, 2018 WL 5281629 (N.D. Cal. Oct. 22, 2018)
 6   (approving limits on discovery of web browsing history and cookies because of privacy
 7   implications).
 8   II.    PLAINTIFFS MEET THE STANDARD FOR SEALING
 9          The narrowly-tailored proposed redactions to the above-listed documents protect materials
10   that quote, summarize or reflect Plaintiffs’ web browsing history and related data and information.
11   See, e.g., First Amended Complaint (“FAC”) ¶¶ 122-25, 141, 143-58, Dkt. No. 162-3. The Court
12   previously granted a motion to seal such materials. See Order, Dkt. No. 198 (sealing web browsing
13   history and information).
14          If the Court declined to allow sealing of this personal information, then Plaintiffs stand in
15   the impossible position of deciding whether to forfeit privacy rights in order to protect those same
16   rights, a situation called “Orwellian” on more than one occasion. See, e.g., In re Anthem, Inc. Data
17   Breach Litig., No. 15-md-02617 LHK (NC), 2016 WL 11505231, at *1 (N.D. Cal. Apr. 8, 2016).
18   Requiring the public exposure of this information would also force them to waive Constitutional
19   protections. Riley v. California, 573 U.S. 373 (2014) (browsing history constitutionally protected).
20          Sealing the limited portions of the above-listed documents “will not interfere with the
21   public’s ability to understand the judicial process.” Ojmar US, LLC v. Sec. People, Inc., No. 16-cv-
22   04948-HSG, 2016 WL 6091543, at *2 (N.D. Cal. Oct. 19, 2016) (sealing the portions of the FAC
23   concerning “[d]efendants’ products, services, and business practices”).
24   III.   CONCLUSION

25          For the reasons set forth above, Plaintiffs respectfully request that the Court grant this

26   motion to seal.

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     PLS. ADMIN. MOT. TO SEAL                         2             CASE NO. 4:20-CV-05146-YGR-SVK
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 1
     Dated: April 28, 2022                            Respectfully submitted,
 2
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     PLS. ADMIN. MOT. TO SEAL                     3             CASE NO. 4:20-CV-05146-YGR-SVK
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, David A. Straite, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: April 28, 2022                                 /s/ David Straite
 5
                                                           David A. Straite
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     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR           Document 636         Filed 04/28/22      Page 6 of 6



 1                                    CERTIFICATE OF SERVICE
 2          I, David A. Straite, hereby certify that on April 28, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: April 28, 2022                                 /s/ David Straite
 8
                                                           David A. Straite
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     CERTIFICATE OF SERVICE                                         CASE NO. 4:20-CV-05146-YGR-SVK
